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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 E. JEAN CARROLL,
                                                  ECF Case
                        Plaintiff,
                                                       1:20-cv-7311
                                                  No. _________________
                -against-

 DONALD J. TRUMP, in his personal
 capacity,

                        Defendant.


     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
             SUBSTITUTE THE UNITED STATES AS DEFENDANT

I.      INTRODUCTION

        On November 4, 2019, Plaintiff instituted this action in the Supreme Court for the State

of New York, New York County, against the President of the United States, Donald J. Trump,

asserting a defamation claim based on a written statement issued to the press and two statements
the President made in interviews in June 2019,1 in which the President vehemently denied

accusations made in Plaintiff’s then-forthcoming book. The President explained that these

accusations were false and that the incident she alleged never happened. Acting pursuant to 28

C.F.R. § 15.4(a), the Attorney General’s delegate has certified that President Trump was acting

within the scope of his office as President of the United States when he publicly denied as false

the allegations made by Plaintiff.2

       On the basis of this certification, the United States removed the action to this Court

pursuant to the Westfall Act, 28 U.S.C. § 2679(d)(2). Notice of Removal, ECF No. 1. Pursuant

to the same statute, the United States hereby moves the Court to substitute the United States as

the party defendant in place of the President.

II.    APPLICABLE STATUTORY PROVISIONS

       Under the Westfall Act, codified, in part, at 28 U.S.C. § 2679(b)(1), the remedy against

the United States provided by the Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 1346(b) and

2672, “for injury or loss of property, or personal injury or death arising or resulting from the

negligent or wrongful act or omission of any employee of the Government while acting within

the scope of his office or employment is exclusive of any other civil action or proceeding for

money damages by reason of the same subject matter against the employee whose act or




       1
        The United States attaches the complaint hereto as Exhibit A to the Declaration of
Stephen Terrell.
       2
          The Attorney General has delegated the authority to execute such certifications to be
exercised by either the United States Attorney for the district embracing the place where the civil
action or proceeding is brought, or any Director of the Torts Branch, Civil Division, Department
of Justice. 28 C.F.R. § 15.4(a). Torts Branch Director James G. Touhey, Jr., executed the
certification that President Trump was acting within the scope of his office as the President of the
United States at the time of the incidents out of which the plaintiff’s defamation claim arose.
Terrell Decl., Exhibit B.
                                                 -2-
omission gave rise to the claim.” The Westfall Act provides that upon certification by the

Attorney General that the defendant employee or officer was acting within the scope of his office

or employment at the time of the incidents out of which the plaintiff’s claim arose, “any civil

action or proceeding commenced upon such claim in a State court shall be removed without

bond any time before trial by the Attorney General to the district court of the United States for

the district and division embracing the place in which the action or proceeding is pending.” Id. §

2679(d)(2). The Westfall Act goes on to provide that “[s]uch action or proceeding shall be

deemed to be an action or proceeding brought against the United States,” and that “the United

States shall be substituted as the party defendant.” Id.

III.   PROCEDURAL BACKGROUND

       Plaintiff filed her action in the Supreme Court for the State of New York on November 4,

2019. Terrell Decl., Exhibit A. The sole defendant named in Plaintiff’s action was President

Trump. Id. On September 8, 2020, the United States removed the action to this Court upon

certification from James G, Touhey, Director, Torts Branch, Civil Division, United States

Department of Justice, that President Trump was acting within the scope of his office at the time

of the incidents out of which Plaintiff’s claim arose. Notice of Removal, ECF No. 1; Touhey

Certification, Terrell Decl., Exhibit B.

IV.    ARGUMENT: THE COURT SHOULD SUBSTITUTE THE UNITED STATES
       FOR THE PRESIDENT AS THE SOLE DEFENDANT.

       As the Supreme Court has explained, “[w]hen a federal employee is sued for wrongful or

negligent conduct, the [Westfall] Act empowers the Attorney General to certify that the

employee ‘was acting within the scope of his office or employment at the time of the incident out

of which the claim arose.’” Osborn v. Haley, 549 U.S. 225, 229–30 (2007) (quoting 28 U.S.C. §

2679(d)(2)). Once the Attorney General certifies that the defendant federal officer was acting


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within the scope of his office at the relevant time, the statute itself provides that the United States

“shall” be substituted as the sole defendant in the action. 28 U.S.C. § 2679(d)(2); see also

Osborn, 549 U.S. at 230 (“Upon the Attorney General’s certification, the employee is dismissed

from the action, and the United States is substituted as defendant in place of the employee.”); id.

at 252 (“Upon certification, the action is ‘deemed to be . . . brought against the United States,’

unless and until the district court determines that the federal officer originally named as

defendant was acting outside the scope of his employment.” (quoting 28 U.S.C. § 2679(d)(2)

(ellipsis in original)). “[T]he Westfall Act certification must be respected unless and until the

District Court determines that [the federal officer], in fact, engaged in conduct beyond the scope

of his employment,” Osborn, 549 U.S. at 251 (original italics omitted); id. at 231 (“The United

States, we hold, must remain the federal defendant in the action unless and until the District

Court determines that the employee in fact, and not simply as alleged by the plaintiff, engaged in

conduct beyond the scope of his employment.” (original italics omitted)).

       Numerous courts have recognized that elected officials act within the scope of their office

or employment when speaking with the press, including with respect to personal matters, and

have therefore approved the substitution of the United States in defamation actions. See, e.g.,

Does 1-10 v. v. Haaland, ___ F.3d ___, ___, 2020 WL 5242402, at *6, *8 (6th Cir. 2020)

(“unsolicited comments by elected officials on an event of widespread public interest” within

scope); Wuterich v. Murtha, 562 F.3d 375, 384–85 (D.C. Cir. 2009) (statements made during a

series of interviews to the media within scope); Council on American Islamic Relations v.

Ballenger, 444 F.3d 659. 665 (D.C. Cir. 2006) (statement made to reporter during interview

about his separation from his spouse within scope); Williams v. United States, 71 F.3d 502, 507

(5th Cir. 1995) (statements made during press interview within scope); Operation Rescue Nat’l



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v. United States, 975 F. Supp. 92, 94–95, 106 (D. Mass. 1997), aff’d, 147 F.3d 68 (1st Cir. 1998)

(same).

          Here, acting pursuant to 28 C.F.R. § 15.4(a), the Attorney General’s delegate has

certified that President Trump was acting within the scope of his office as President of the United

States at the time of the incidents out of which the Plaintiff’s defamation claim arose. Indeed,

when providing the challenged statements, the President was speaking to or responding to

inquiries from the press, much as the elected officials in the cases cited above were speaking to

the press or making other public statements at the time of their challenged actions. The Westfall

Act accordingly requires the substitution of the United States as defendant in this action.

V.        CONCLUSION

          For the reasons stated herein, the United States respectfully requests that the Court

substitute the United States for President Trump as defendant.

 Dated: September 8, 2020                            JEFFREY BOSSERT CLARK
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                                                     Civil Division

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                                                     Director

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